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JS 44 (Rev. 061'17)

 

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1800 JFK Blvd, Suite 300, Phi|adelphia, PA 19103
215~326-9'179 ag@garibianiaw.com
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_ t- \" IN THE UNITED sTATES DISTRICT COURT
saul FoR THE F,ASTERN DIS'I‘RICT oF PENNSYLVANIA

CASE lVlANAGEMENT TRACK DESIGNATION FORM
Nadia Henry et e|. : CIVIL AC'§ION

V as

Radius G|obal Soiutions, LLC et al.
NO.

 

In accordance With the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Managernent Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § l:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree With the plaintiff regarding Said
designation, that defendant shall, With its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties a Case Management Track Designation Form specifying the track
to Which that defendant believes the case should be assigned

SELECT {)NE OF THE F()LLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus ~ Cases brought under 28 U.S.C. § 224l through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Loeal Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos ' ( )

(e) Special Management ~ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need Special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks

iiii§il? M}&Q'L: Nadiaaenry

 

 

 

Datei Attorn‘e§":at-law Attorney for
215-326-9179 267'238'37°1 aq@qaribiamaw.com
"f'&ephune FAX Number E~Mail Address

(Civ. 660} lB»' 02

 

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 4 of 18

GARlBlAN

----- LAW OFFlCES ----

 

November 15, 2018

 

Via Haml Deh'veg
Clerk’s Office

U.S. District Court, EDPA
2609 U.S. Courthouse

601 Market Street
Philadelphia, PA 19106-1797

RE: Nadia Henry v. Radius Global Solutions, LLC f/k/a Northland Group
Dear Sir/Madam:

Enclosed please find a Civil Action Complaint and Summons as referenced above.
My firm’s check in the amount of $400.00 to cover the cost of filing same is also enclosed
herewith Kindly file the original of record and return a timestamped copy in the enclosed

return envelope

Thank you for your anticipated cooperation

 

Sincerely,
ANTRANIG GARIBIAN
AG/as
Enclosure

 

 

1800 lFK Boulevard, Suife 308 P|iiladelphla, PA 19103 ¢ 18 Ea5141st Street, th: floor Ncw \'orlc, NY 10017
1010 N. Bancroft Parkwny, Suite 22 Wilmington, D£ 19805
215.326.9179 - 302.722.6885 ¢ ag@garibianlaw.com ¢ www.garil)ianiaw.com

 

 

 

UNITED S'I`ATES DISTRICT COURT
EASTERN DISTRIC'I` OF PENNSYLVANIA

 

 

Naala neary individually and On behalf ar all ;M §§

others similarly sltuated; CIVIL ACTION NO_

Plaintiff, CLASS ACTION COMPLAINT
DEMAND FOR JURY TRIAL

mV.-.
Radius Global Solutions, LLC
f/k/a Northland Group, § !<*
John Does 1-25

 

Defendant(s).

 

 

Plaintiff Nadia llenry (hereinafter, “Plaintiff” or “Henry”) brings this Class Action
Complaint by and through her attorneys, Garibian Law Offlces, P.C., against Defendant, Radius
Global Solutions, LLC f/k/a Northland Group (hereinafter “Defendant ”), individually and on
behalf of a class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil
Procedure, based upon information and belief of Plai.ntiff’s counsel, except for allegations
specifically pertaining to Plaintiff, which are based upon Plaintiffs personal knowledge

INTRODUCTION
1. Congress enacted the Fair Debt Collection Practices Act (“the FDCPA”) in 1977 in
response to the “abundant evidence of the use of abusive, deceptive, and unfair debt collection
practices by many debt collectors.” 15 U.S.C. §1692(3,). At that time, Congress Was concerned that
“abusive debt collection practices contribute to the number of personal bankruptcies to material

instability, to the loss of jobs, and to invasions of individual privacy.” Id. Congress concluded that 5

 

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 6 of 18

“existing laws...[we]re inadequate to protect consumers,” and that “‘the effective collection of
debts does not require ‘misrepresentation or other abusive debt collection practices.”’ 15 U.S.C.
§§ 1692(b) & (c).

2. Congress explained that the purpose of the FDCPA was not only to eliminate abusive debt
collection practices but also to “insure that those debt collectors who refrain from using abusive
debt collection practices are not competitively disadvantaged.” 15 U.S.C § 1692(e). “After
determining that the existing consumer protection laws ~were inadequate.” 15 U.S.C. § 1692(b),
Congress gave consumers a private cause of action against debt collectors who fail to comply with
the FDCPA. 15 U.S.C. § 1692k.

JURISDICTION AND VENUE

3. The Court has jurisdiction over this action pursuant to 15 U.S.C. § 1692 et. seq. and 28
U.S.C. § 2201. The Court has pendent jurisdiction over the state law claims in this action pursuant
to 28 U.S.C. § 1367(3).

4. Venue is proper in this judicial district pursuant to 28 U.S.C. § 139l(b)(2) as this is where
a substantial part of the events or omissions giving rise to the claim occurred

NATURE ()F THE AC'I`ION

5. Plaintiff brings this class action on behalf of a class of consumers under 15 U.S.C. §1692

et seq.

6. Plaintiff is seeking damages and declaratory relief.

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 7 of 18

PARTIES

7. Plaintiff is a resident of the Cornmonwealth of Pennsylvania, County of Philadelphia,
residing at 5823 N 15th St., Philadelphia, PA 19141.

8, Defendant is a “debt collector” as the phrase is defined in 15 U.S.C. § l692(a)(6) and used
in the FDCPA with an address at 7831 Glenroy Road, Ste 250, Minneapolis, MN, 55439.

9. Upon information and belief, Defendant is a company that uses the mail, telephone, and
facsimile and regularly engages in business the principal purpose of which is to attempt to collect
debts alleged to be due another.

10. John Does 1-25, are fictitious names of individuals and businesses alleged for the purpose
of substituting names of Defendants whose identities will be disclosed in discovery and should be
made parties to this action

CLASS ALLEGATIONS

l 1. Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ. P. 23(a)
and 23(b)(3).

12. The Class consists of:

a. all individuals with addresses in the Commonwealth of Pennsylvania;

b. to Whorn Defendant sent an initial collection letter attempting to collect a
consumer debt;

c. that deceives the consumer by omitting the complete and accurate requirement
that every part of a consumer’ s dispute of a debt must be in Writing, as provided
for under §l692g (the “G~Notice”);

d. Which letter was sent on or after a date one (l) year prior to the filing of this

action and on or before a date twenty-one (21) days after the filing of this action.

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 8 of 18

13. The identities of all class members are readily ascertainable from the records of Defendants
and those companies and entities on whose behalf they attempt to collect and/or have purchased
debts

14. Excluded from the Plaintiff Class are the Defendants and all officers, members, partners,
managers directors and employees of the Defendants and their respective immediate families, and
legal counsel for all parties to this action, and all members of their immediate families

15. There are questions of law and fact common to the Plaintiff Class, which common issues
predominate over any issues involving only individual class members The principal issue is
Whether the Defendants’ written communications to consumers in the forms attached hereto as
Exhibit A, violate 15 U.S.C. §§ 1692e & 1692g.

16. Plaintiff’s claims are typical of the class members, as all are based upon the same facts and
legal theories

17. Plaintiff will fairly and adequately protect the interests of the Plaintiff Class defined in this
complaint

18. Plaintiff has retained counsel with experience in handling consumer lawsuits, complex
legal issues, and class actions, and neither Plaintiff nor her attorneys have any interests, which
might cause them not to vigorously pursue this action.

l9. This action has been brought, and may properly be maintained, as a class action pursuant
to the provisions of Rule 23 of the Federal Rules of Civil Pl‘ocedure because there is a well-defined
community interest in the litigation:

a. Numerosig: Plaintiff is informed and believes, and on that basis alleges, that
the Plaintiff Class defined above is so numerous that joinder of all members

would be impractical

 

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 9 of 18

b. Common Qgestions Predominate: Common questions of law and fact exist
as to all members of the Plaintiff Class and those questions predominate over
any questions or issues involving only individual class members The principal
issue is Whether the l)efendants’ written communications to consumers, in the
forms attached as Exhibit A violate 15 U.S.C. §§ l692e & 1692g.

c. Typicali_ty: Plaintiff’s claims are typical of the claims of the class members
Plaintiff and all members of the Plaintiff Class have claims arising out of the
Defendants’ common uniform course of conduct complained of herein

d. Adeguacy: Plaintiff will fairly and adequately protect the interests of the class
members insofar as Plaintiff has no interests that are adverse to the absent class
members Plaintiff is committed to vigorously litigating this matter. Plaintiff
has also retained counsel experienced in handling consumer lawsuits, complex
legal issues, and class actions Neither Plaintiff nor her counsel have any
interests which might cause them not to vigorously pursue the instant class
action lawsuit.

e. Sugeriority: A class action is superior to the other available means for the fair
and efficient adjudication of this controversy because individual joinder of all
members would be impracticable Class action treatment Will permit a large
number of similarly situated persons to prosecute their common claims in a
single forum efficiently and without unnecessary duplication of effort and
expense that individual actions would engender.

20. Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is also

appropriate in that the questions of law and fact common to members of the Plaintiff Class

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 10 of 18

predominate over any questions affecting an individual member, and a class action is superior to
other available methods for the fair and efficient adjudication of the controversy.

21. Depending on the outcome of further investigation and discovery, Plaintiff may, at the time
of class certification motion, seek to certify a class(es) only as to particular issues pursuant to Fed.
R. Civ. P. 23(0)(4).

FACTUAL ALLEGATIONS

22. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs
numbered above herein with the same force and effect as if the same were set forth at length herein.

23. Some time prior to November 16, 2017 an obligation was allegedly incurred to TD Banlc
(hereinafter “TD”).

24. The alleged TD obligation arose out of transactions involving money, property, insurance
or services Specifically, Plaintiff used funds from TD Bank primarily for personal, family or
household purposes

25. The alleged TD obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

26. Tl) Bank is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

27. TD Bank, or a subsequent owner of the debt, contracted with the Defendant to collect the
alleged debt.

28. Defendant collects and attempts to collect debts incurred or alleged to have been incurred
for personal, family or household purposes on behalf of creditors using the United States Postal

Services, telephone and internet.

 

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 11 of 18

Violation f November ] 6, 201 7 Collection Len‘er

29. On or about November 16, 2017 Defendant sent Plaintiff an initial contact notice (the
“Letter”) regarding the alleged debt owed. A true and accurate copy of the Letter is attached as
Exhibit A.

30. Pursuant to the FDCPA, when a debt collector solicits payment from a consumer, it must,
within five days of an initial communication send the consumer a written notice containing the
following:

(l) the amount of the debt;

(2) the name of the creditor to whom the debt is owed',

(3) a statement that unless the consumer, within thirty days after receipt of the notice,
disputes the validity of the debt, or any portion thereof, the debt will be assumed to be
valid by the debt collector;

(4) a statement that if the consumer notifies the debt collector in writing within the thirty-
day period that the debt, or any portion thereof, is disputed, the debt collector will obtain
verification of the debt or a copy of the judgment against the consumer and a copy of
such verification or judgment will be mailed to the consumer by the debt collector; and
(5) a statement that, upon the consumer‘s written request within the thirty-day period, the
debt collector will provide the consumer with the name and address of the original
creditor, if different from the current creditor. 15 U.S.C. § 1692g(a).

31. The FDCPA further provides that "if the consumer notifies the debt collector in writing
within the thirty-day period . . . that the debt, or any portion thereof, is disputed . . . the debt

collector shall cease collection . . . until the debt collector obtains verification of the debt . . . and

 

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 12 of 18

a copy of such verification is mailed to the consumer by the debt collector." 15 U.S.C.
§ l692g(b).

32. Specifically, with regard to section 15 U.S.C. § 1692g(a)(3), the Third Circuit has made clear
that “any dispute, to be effective, must be in writing.” Graziano v. Harrfson, 950 F.Zd 107, 112 (3d
Cir. 1991).

33. Thus, in the Third Circuit, a debt collector’s written disclosure must convey the requirement
that a consumer must dispute a debt in Writing under 15 U.S.C. § l692g(a)(3).

34. [l]n order to comply with the requirements of § l692g, more is required than the mere
inclusion of the statutory debt validation notice in the debt collection letter_the required notice must
also be conveyed effectively to the debtor.” Wflson v. Qtradramed Corp., 225 F.3d 350, 354 (3d Cir.
2000), as amended (Sept. 7, 2000) (citations omitted). A debt collector violates the FDCPA when a
validation notice is “overshadowcd” or “contradicted by other portions of the communication Id. at
lll; Wr'lson, 225 F.3d at 354.

35. The Letter does not meet the requirements of the FDCPA, as interpreted by the Third
Circuit, because it falsely omits the requirement of the “G Notice” in the first sentence by leaving
out the requirement that a consumer must dispute in writing

36. ln omitting the Writing requirement, Defendant falsely communicated the consumer’s
requirements under the FDCPA.

37. Fuithermore, the second sentence of the “G Notice” begins: “If” you notify us in writing...,
which implies that the Writing requirement is voluntary or optional. When coupled with the failure
of the first sentence to contain any mention of the word “writing,” the least sophisticated consumer
would be confused as to what the actual requirements were for properly disputing the debt.

38. Pursuant to section 1692g(a)(3), the Third Circuit has made clear that “any dispute, to be

effective, q_i}_lst be in writing.” sziano v. Harrison, 950 F.2d 107, 112 (3d Cir. 1991)(emphasis

 

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 13 of 18

added). Thus, a written disclosure that fails to convey the requirement that a consumer must dispute
a debt in writing runs afoul of the FDCPA’s requirements

39. This false and inaccurate portion of the Letter is misleading because it fails to advise
Plaintiff of the proper method for exercising her dispute and validation rights under the FDCPA.

40. Plaintiff sustained an informational injury as she was not fully apprised of her rights and
responsibilities necessary to properly exercise her options under 15 U.S.C. § 1692g.

41. As a result of Defendant’s false statements, Plaintiff effectively waived her rights to this
statutorily available information because she Was not properly informed of the “G-Notice”
requirements set forth in the FDCPA, as interpreted in the Third Circuit.

42. As a result of Defendant’s deceptive, misleading and false debt collection practices,
Plaintiff bas been damaged

COUNT I

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES AC'I`
15 .S.C. §1692e et seq.

43. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above
herein with the same force and effect as if the same were set forth at length herein.

44. Defendant’s debt collection efforts attempted and/or directed towards Plaintiff violated
various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

45 . Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or
misleading representation or means in connection with the collection of any debt.

46. Defendant violated 15 U.S.C. §1692e as follows:

a. The Letter it is open to more than one reasonable interpretation, at least one of
which is inaccurate

b. By making a false and misleading representation in violation of § l 692e(10).

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 14 of 18

47. By reason thereof, Defendant is liable to Plaintiff for Defendant’s violations of 15 U.S.C.
§ 1692e et seq., for actual damages, statutory damages, costs and attorneys’ fees.
COUNT II

VIOLATIONS OF THE FAIR DEBT COLLECTIGN PRACTICES ACT
15 U.S.C. §1692g et seq.

48. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above
herein with the same force and effect as if the same were set forth at length herein.
49. Defendant’s debt collection efforts attempted and/or directed towards Plaintiff violated
various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.
50. Pursuant to 15 USC § l692g, a debt collector:
Within five days after the initial communication with a consumer in connection
with the collection of any debt, a debt collector shall, unless the following
information is contained in the initial communication or the consumer has paid

the debt, send the consumer a written notice containing m
l. The amount of the debt;
2. The name of the creditor to whom the debt is owed;

3. A statement that unless the consumer, Within thirty days after
receipt of the notice, disputes the validity of the debt, or any
portion thereof, the debt will be assumed to be valid by the debt-

collector;

4. A statement that the consumer notifies the debt collector in
writing within thirty~day period that the debt, or any portion

thereof, is disputed, the debt collector will obtain verification of

10

 

 

 

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 15 of 18

the debt or a copy of a judgment against the consumer and a
copy of such verification or judgment will be mailed to the

consumer by the debt collector; and

5. A statement that, upon the consumer’s written request Within the
thirty-day period, the debt collector will provide the consumer
with the name and address of the original creditor, if different

from the current creditor.

51. The Defendant violated 15 U.S.C. § 1692g, by falsely misstating the consumer’s rights by
omitting the requirement that she must request validation and make any dispute of the debt in
writing

52. By reason thereot`, Defendant is liable to Plaintiff for Defendant’s violation of 15 U.S.C. §
1692g, and for actual damages, statutory damages, costs and attorneys’ fees.

DEMAND FOR TRIAL BY .]URY

53. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.
PRAYER FOR RELIEF
WHEREFORE, Plaintiffl\ladia Henry, individually and on behalf of all others similarly

situated, demands judgment against Defendant Radius Global Solutions, LLC as follows:

i. Declaring that this action is properly maintainable as a Class Action and certifying
Plaintiff as Class representative, and Antranig Garibian, Esq. as Class Counsel;
ii. Awarding Plaintiff and the Class statutory damages;

iii. Awarding Plaintiff and the Class actual damages;

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Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 16 of 18

iv. Awarding Plaintiff costs of this action, including reasonable attorneys’ fees and
expenses;

v. Awarding pre-judgment interest and postjudgment interest; and

vi. Awarding Plaintiff and the Class such other and further relief as this Court.may

deem just and proper.

Respectfully Subrnitted,

GARIBIAN LAW OFFICES, P.C.

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12

 

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 17 of 18

EXHIBIT A

 

Case 2:18-cv-O4945-|\/|AK Document 1 Filed 11/15/18 Page 18 of 18

 

 

 

 

